   Case 1:21-cv-00922-WMS-LGF                 Document 59    Filed 03/17/25    Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

__________________________________________
Michael Nolan


                                    Plaintiff(s),
                                                                  MEDIATION
                                                                CERTIFICATION

                                                                   21 - cv - ______
                                                                 ______      00922
                               v.

Western Regional Off Track Betting Corp.,
Richard Bianchi and Henry Wojtaszek v. Steve
Cohen
                            Defendant(s).

__________________________________________



   I hereby certify that:

   The mediation session scheduled for___________ has been adjourned to ___________.

   Case settled prior to the first mediation session.
                                     3/14/25
   Mediation session was held on ______________.

       Case has settled. (Comment if necessary).

       Case has settled in part. (Comment below). Mediation will continue on________.

       Case has settled in part. (Comment below). Mediation is complete.

       Case has not settled. Mediation will continue on ________________________.

       Case has not settled.



Date: ______________
      03/17/2025                                Mediator: /S/ __________________________
                                                              Kenneth A. Manning

Additional Comments:
The settlement is subject to Board approval of Defendant
________________________________________________________________________
Western Regional Off-Track Betting Corp.
________________________________________________________________________
________________________________________________________________________
